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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                       Plaintiff,                            Case No.: 21-cv-6702

       v.                                                    MOTION FOR ADMISSION
                                                             PRO HAC VICE
PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

                  Defendant.
________________________________/


       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Sigrid S. McCawley, hereby move this Court for an Order for

Admission to practice Pro Hac Vice to appear as counsel for Plaintiff, Virginia L. Giuffre in the

above-captioned action.

       I am in good standing in the bar of the State of Florida and the District of Columbia and

there are no pending disciplinary proceedings against me in any state or federal court. I have never

been convicted of a felony. I have never been censured, suspended, disbarred or denied admission

or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.


Dated: August 9, 2021                 Respectfully Submitted,

                                      /s/ Sigrid S. McCawley

                                      Sigrid S. McCawley
                                      Boies Schiller Flexner LLP
                                      401 E. Las Olas Boulevard, Suite 1200
                                      Fort Lauderdale, FL 33301
                                      Tel: (954) 356-0011
                                      Fax: (954) 356 0022
                                      Email: smccawley@bsfllp.com

                                      Counsel for Plaintiff, Virginia L. Giuffre
